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 1   DORON WEINBERG
     (SBN 046131)
 2   WEINBERG & WILDER
     523 Octavia Street
 3   San Francisco, CA 94102
     Telephone: (415) 431-3472
 4   Facsimile: (415) 552-2703
     doronweinberg@aol.com
 5
     Attorneys for Defendant
 6   STEVEN SHELTON

 7                                            UNITED STATES DISTRICT COURT

 8                                FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA, )                         Case No. CR-05-00334 SBA [WDB]
                                   )
10               Plaintiff,        )                     [PROPOSED] ORDER DIRECTING
                                   )                     U.S. MARSHAL TO ARRANGE FOR
11         vs.                     )                     NON-CUSTODIAL TRANSPORTATION
                                   )
12   STEVEN SHELTON, et. al.,      )
                                   )
13               Defendants.       )
     ______________________________)
14

15             Defendant Steven Shelton, being required to appear in this Court on May 16, 2006 at

16   11:00 a.m., and having qualified for legal representation at the government’s expense, and good

17   cause appearing therefor,

18             IT IS HEREBY ORDERED that the United States Marshal arrange one-way non-

19   custodial air transportation for Mr. Shelton to travel from Orlando, FL to Oakland, CA, on May

20   15, 2006. Alternatively, the United States Marshal may furnish the necessary fare for Mr.
                                                                           S DISTRICT
21   Shelton’s trip in lieu of providing such transportation.
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23     Dated: May 5, 2006                                           IT IS S
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                                                         HONORABLE WAYNE D. BRAZIL
24                                                       United States Magistrate Judge    Brazil
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     [Proposed] Order Directing U.S. Marshal to
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26                                                                                             F
     Arrange for Non-Custodial Transportation                                  D IS T IC T O
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